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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELMAGIN CAPITAL, LLC             :                CIVIL ACTION
                                 :
     v.                          :
                                 :
CHAO CHEN, KARL PETTY, ENTERGRID :
LLC and ENTERGRID FUND I LLC     :                NO. 20-2576

                                         ORDER

      NOW, this 19th day of October, 2021, upon consideration of Defendants’ Motion

In Limine to Exclude the Testimony of Matthew Yuros and Related Exhibits (Document

No. 112) and it appearing that the motion and exhibits contain trade secrets subject to

protection, it is ORDERED that the Clerk shall place this motion and exhibits UNDER

SEAL until further Order of the Court.



                                              /s/ TIMOTHY J. SAVAGE J.
